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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

REGINALD CARTER                                )
                                               )
       Plaintiff,                              )
                                               )       Case No. 4:20-cv-00326-AGF
vs.                                            )
                                               )
LOGISTICARE SOLUTIONS, LLC,                    )
                                               )
       Defendant.                              )

                                 JOINT MOTION TO REMAND

           Plaintiff Reginald Carter (“Plaintiff”) and Defendant LogistiCare Solutions, LLC

(“LogistiCare”) in support of their Joint Motion to Remand, state:

       1.        On January 22, 2020, Plaintiff filed his Petition in St. Louis City Circuit Court

(Cause No. 2022- CC00139).

       2.        Defendant LogistiCare filed its Notice of Removal to this Court on February 28,

2020. [Doc. 1]. LogistiCare based the removal of this action on diversity jurisdiction (28 U.S.C.

§ 1332).

       3.        On May 11, 2020, Plaintiff filed a Stipulation and Order with the Court in which

he stipulated that his damages did not exceed the jurisdictional amount of $75,000 needed for

removal. [Doc. 10].

       4.        Based on Plaintiff’s stipulation that he will not seek, nor enforce, any judgment in

excess of $75,000.00, the jurisdictional amount required for diversity jurisdiction, the case

should be remanded to state court.

       WHEREFORE, Plaintiff Reginald Carter and Defendant LogistiCare Solutions, LLC

jointly and respectfully request that this matter be remanded to the Circuit Court of the City of
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St. Louis, State of Missouri, with each party to bear its own fees and costs, and for such other

and further relief as this Court deems just and proper.

                                                /s/ William K. Meehan (with consent)
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